                                                Case 20-63543-pwb                        Doc 15   Filed 07/30/20 Entered 07/30/20 18:39:19                                     Desc
                                                                                                      Page 1 of 3
                                                                                        Form 1
                                                                                                                                                                                                            Page: 1-1
                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:     20-63543-PWB                                                                                                                   Trustee Name:        (300320) S. Gregory Hays
Case Name:       AGORA HEALTH SOLUTIONS, INC.                                                                                                Date Filed (f) or Converted (c): 02/28/2020 (f)
                                                                                                                                             § 341(a) Meeting Date:       04/07/2020
For Period Ending:       06/30/2020                                                                                                          Claims Bar Date: 08/03/2020

                                                     1                                                 2                            3                            4                      5                          6

                                            Asset Description                                       Petition/               Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                         Unscheduled          (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                     Values               Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                      and Other Costs)                                                             Remaining Assets

    1       $30,000.00 in Escrow with pre-petition counsel, Vivek Jarayam.                                 30,000.00                        29,525.00                                        29,525.00                          FA

    2       A/R Over 90 days old. Face amount = $62,500.00. Doubtful/Uncollectible                         62,500.00                        62,500.00                                               0.00                62,500.00
            accounts = $0.00.
    3       Raw Materials: Medical device products (biologies) - perishable, Net Book Value:               10,000.00                        10,000.00                                               0.00                10,000.00
            $0.00
    4       Finished goods: Yes, Net Book Value: $0.00                                                          0.00                              0.00                                              0.00                        FA

    5       Fraudulent Conveyance and Claims Against Insiders (u)                                          Unknown                          Unknown                                                 0.00                Unknown
            Trustee continues to investigate merits of potential claims.

    5       Assets                Totals       (Excluding unknown values)                              $102,500.00                       $102,025.00                                        $29,525.00                 $72,500.00



        Major Activities Affecting Case Closing:
                                        The Trustee is gathering information on the open but aged accounts receivable. Trustee is also investigating the merits of potential claims against the
                                        Debtor's insiders.

        Initial Projected Date Of Final Report (TFR):                       09/30/2022                                  Current Projected Date Of Final Report (TFR):                        09/30/2022


             07/30/2020                                                                                                   /s/S. Gregory Hays

                  Date                                                                                                    S. Gregory Hays
                                             Case 20-63543-pwb        Doc 15           Filed 07/30/20 Entered 07/30/20 18:39:19                             Desc
                                                                                           Page 2 of 3
                                                                               Form 2
                                                                                                                                                                                          Page: 2-1
                                                               Cash Receipts And Disbursements Record
Case No.:                      20-63543-PWB                                                           Trustee Name:                 S. Gregory Hays (300320)
Case Name:                     AGORA HEALTH SOLUTIONS, INC.                                           Bank Name:                    East West Bank
Taxpayer ID #:                 **-***4819                                                             Account #:                    ******0288 Checking
For Period Ending:             06/30/2020                                                             Blanket Bond (per case limit): $30,203,000.00
                                                                                                      Separate Bond (if applicable): N/A

    1          2                               3                                                      4                                          5                       6                      7

  Trans.    Check or                 Paid To / Received From                       Description of Transaction                Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                         Tran. Code          $                        $

 04/08/20     {1}        Jayaram Law Group                       Escrow Account.                                             1129-000                 29,525.00                                     29,525.00
 04/30/20                East West Bank                          Bank and Technology Services Fees                           2600-000                                          34.60                29,490.40
 05/29/20                East West Bank                          Bank and Technology Services Fees                           2600-000                                          45.56                29,444.84
 06/30/20                East West Bank                          Bank and Technology Services Fees                           2600-000                                          50.19                29,394.65

                                                                   COLUMN TOTALS                                                                      29,525.00               130.35             $29,394.65
                                                                           Less: Bank Transfers/CDs                                                        0.00                  0.00
                                                                   Subtotal                                                                           29,525.00               130.35
                                                                           Less: Payments to Debtors                                                                             0.00

                                                                   NET Receipts / Disbursements                                                   $29,525.00                 $130.35




{ } Asset Reference(s)                                                                                                                                            ! - transaction has not been cleared
                                           Case 20-63543-pwb   Doc 15       Filed 07/30/20 Entered 07/30/20 18:39:19                    Desc
                                                                                Page 3 of 3
                                                                        Form 2
                                                                                                                                                       Page: 2-2
                                                        Cash Receipts And Disbursements Record
Case No.:                  20-63543-PWB                                             Trustee Name:                 S. Gregory Hays (300320)
Case Name:                 AGORA HEALTH SOLUTIONS, INC.                             Bank Name:                    East West Bank
Taxpayer ID #:             **-***4819                                               Account #:                    ******0288 Checking
For Period Ending:         06/30/2020                                               Blanket Bond (per case limit): $30,203,000.00
                                                                                    Separate Bond (if applicable): N/A


                                        Net Receipts:          $29,525.00
                           Plus Gross Adjustments:                  $0.00
                         Less Payments to Debtor:                   $0.00
                 Less Other Noncompensable Items:                   $0.00

                                          Net Estate:          $29,525.00




                                                                TOTAL - ALL ACCOUNTS                    NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                ******0288 Checking                            $29,525.00              $130.35       $29,394.65

                                                                                                                 $29,525.00                  $130.35     $29,394.65
